EX-21.1 6 trv-12312022x10kxex211.htm EX-21.1



                                                                                           Exhibit 21.1
                                                                                          State or
                                                                                           Other
                                                                                       Jurisdiction of
Name of Subsidiaries of The Travelers Companies, Inc.                                  Incorporation
Travelers Property Casualty Corp.                                                 Connecticut
    Travelers Insurance Group Holdings Inc.                                       Delaware
       The Standard Fire Insurance Company                                        Connecticut
         Standard Fire Properties, LLC                                            Delaware
            Bayhill Restaurant II Associates                                      California
         Standard Fire UK Investments LLC                                         Delaware
         The Automobile Insurance Company of Hartford, Connecticut                Connecticut
            Auto Hartford Investments LLC                                         Delaware
         Travelers Personal Security Insurance Company                            Connecticut
         Travelers Property Casualty Insurance Company                            Connecticut
         Travelers Personal Insurance Company                                     Connecticut
         Travelers Texas MGA, Inc.                                                Texas
       The Travelers Indemnity Company                                            Connecticut
         Arch Street North LLC                                                    Delaware
         Gulf Underwriters Insurance Company                                      Connecticut
         Select Insurance Company                                                 Texas
         First Floridian Auto and Home Insurance Company                          Florida
         Travelers Distribution Alliance, Inc.                                    Delaware
         Travelers Indemnity U.K. Investments LLC                                 Connecticut
         The Charter Oak Fire Insurance Company                                   Connecticut
         American Equity Insurance Company                                        Arizona
             American Equity Specialty Insurance Company                          Connecticut
         Northland Insurance Company                                              Connecticut
             Northfield Insurance Company                                         Iowa
             Northland Casualty Company                                           Connecticut
         The Phoenix Insurance Company                                            Connecticut
            Constitution State Services LLC                                       Delaware
            Phoenix UK Investments LLC                                            Delaware
            The Travelers Indemnity Company of America                            Connecticut
            The Travelers Indemnity Company of Connecticut                        Connecticut
            Travelers Property Casualty Company of America                        Connecticut
         The Travelers Home and Marine Insurance Company                          Connecticut
         The Travelers Lloyds Insurance Company                                   Texas
         Travelers Marine, LLC                                                    Delaware
         Travelers Marketplace Holdings, LLC                                      Delaware
            InsuraMatch, LLC                                                      Delaware
         TPC U.K. Investments LLC                                                 Delaware
         TravCo Insurance Company                                                 Connecticut
         Travelers Commercial Casualty Company                                    Connecticut




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                                                                                          State or
                                                                                           Other
                                                                                       Jurisdiction of
Name of Subsidiaries of The Travelers Companies, Inc.                                  Incorporation
        TPC Investments, Inc.                                                     Connecticut
        Travelers (Bermuda) Limited                                               Bermuda
        Travelers Casualty and Surety Company                                     Connecticut
          8527512 Canada Inc.                                                     Canada
            The Dominion of Canada General Insurance Company (1)                  Canada
          Farmington Casualty Company                                             Connecticut
            Travelers MGA, Inc.                                                   Texas
          IHP Capital Partners Fund VIII, L.P.                                    Delaware
          Simply Business, LLC                                                    Massachusetts
            Harborway Insurance Agency, LLC                                       Massachusetts
          The Family Business Institute LLC                                       Delaware
          Travelers Casualty and Surety Company of America                        Connecticut
            Travelers Global, Inc.                                                Delaware
                Travelers Brazil Holding LLC                                      Delaware
                 Travelers Brazil Acquisition LLC                                 Delaware
          Travelers Casualty Insurance Company of America                         Connecticut
          Travelers Casualty Company of Connecticut                               Connecticut
          Travelers Casualty UK Investments LLC                                   Delaware
          Travelers Commercial Insurance Company                                  Connecticut
          Travelers Excess and Surplus Lines Company                              Connecticut
          Travelers Lloyds of Texas Insurance Company                             Texas
          Travelers Insurance Company of Canada                                   Canada
St. Paul Fire and Marine Insurance Company                                        Connecticut
  Fidelity and Guaranty Insurance Company                                         Iowa
  Fidelity and Guaranty Insurance Underwriters, Inc.                              Wisconsin
 St. Paul Mercury Insurance Company                                               Connecticut
 St. Paul Guardian Insurance Company                                              Connecticut
 St. Paul Surplus Lines Insurance Company                                         Delaware
 The Travelers Casualty Company                                                   Connecticut
 Travelers Constitution State Insurance Company                                   Connecticut
 Northbrook Holdings, Inc.                                                        Delaware
     Discover Property & Casualty Insurance Company                               Connecticut
     St. Paul Protective Insurance Company                                        Connecticut
 350 Market Street, LLC                                                           Delaware
 United States Fidelity and Guaranty Company                                      Connecticut
 Travelers Specialty Insurance Company                                            Connecticut
 SPFM Holdings, LLC                                                               Delaware
Camperdown Corporation                                                            Delaware
TCI Global Services, Inc.                                                         Delaware
SPC Insurance Agency, Inc.                                                        Minnesota
Travelers Management Limited                                                      United Kingdom
Travelers Insurance Company Limited                                               United Kingdom
 Travelers Insurance Designated Activity Company                                  Ireland
Travelers London Limited                                                          United Kingdom




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                                                                                                                      State or
                                                                                                                       Other
                                                                                                                   Jurisdiction of
Name of Subsidiaries of The Travelers Companies, Inc.                                                              Incorporation
F&G UK Underwriters Limited                                                                                    United Kingdom
Travelers Syndicate Management Limited                                                                         United Kingdom
Aprilgrange Limited                                                                                            United Kingdom
Travelers Underwriting Agency Limited                                                                          United Kingdom
Xbridge Limited                                                                                                United Kingdom
10762962 Canada Inc.                                                                                           Canada
  Zensurance Inc. (2)                                                                                          Canada
    Zensurance Brokers Inc.                                                                                    Canada

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(1)   The Dominion of Canada General Insurance Company is a wholly-owned subsidiary of 8527512 Canada Inc., which is jointly
      owned by Travelers Casualty and Surety Company, which holds a 77.52% interest, and St. Paul Fire and Marine Insurance
      Company, which holds a 22.48% interest.
(2)   10762962 Canada Inc. holds a majority interest in Zensurance Inc.
The names of particular subsidiaries have been omitted because, considered in the aggregate as a single subsidiary, they would not
constitute, as of the end of the year covered by this report, a "significant subsidiary" as that term is defined in Rule 1-02(w) of
Regulation S-X under the Securities Exchange Act of 1934. In addition to what is listed above, the Company has a 49.5% interest in
(i) Junto Holding Brasil S.A., a Brazilian company, which has two direct wholly-owned Brazilian subsidiaries, Junto Seguros S.A. and
Junto Resseguros S.A, and one indirect wholly-owned Brazilian subsidiary, Junto Controle de Riscos Ltda and (ii) Junto Holding
Latam S.A., a Brazilian company, which owns 51% of JMalucelli Travelers Seguros S.A., a Colombian company.



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